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 8                               IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   HERBERT M. BELLINGER, JR.,

11                  Plaintiff,                     No. CIV S-02-2335 LKK GGH P

12            vs.

13   DEPUTY ALLBEE, et al.,

14                  Defendants.                    FINDINGS & RECOMMENDATIONS

15                                          /

16   I. Introduction

17                  Plaintiff is proceeding pro se with a civil rights action pursuant to 42 U.S.C. §

18   1983. Pending before the court is defendants’ summary judgment motion filed December 17,

19   2004. After carefully considering the record, the court recommends that defendants’ motion be

20   granted in part and denied in part.1

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               On October 4, 2004, plaintiff filed a summary judgment motion. On October 13, 2004,
     the court ordered this motion disregarded based on plaintiff’s failure to file a proof of service as
24   required by Fed. R. Civ. P. 5(d). Defendants apparently received plaintiff’s motion because on
     December 22, 2004, they filed an opposition. Without a proper proof of service, the court cannot
25   determine whether defendants’ opposition is even timely. Pro se litigants are held to the same
     procedural rules as litigants represented by counsel. King v. Atiyeh, 814 F.2d 565, 567 (9th Cir.
26   1987). The court will not reinstate plaintiff’s summary judgment motion.

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 1   II. Summary Judgment Standards Under Rule 56

 2                  Summary judgment is appropriate when it is demonstrated that there exists “no

 3   genuine issue as to any material fact and that the moving party is entitled to a judgment as a

 4   matter of law.” Fed. R. Civ. P. 56(c).

 5                  Under summary judgment practice, the moving party

 6                  always bears the initial responsibility of informing the district court
                    of the basis for its motion, and identifying those portions of “the
 7                  pleadings, depositions, answers to interrogatories, and admissions
                    on file, together with the affidavits, if any,” which it believes
 8                  demonstrate the absence of a genuine issue of material fact.

 9   Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548, 2553 (1986) (quoting Fed. R. Civ.

10   P. 56(c)). “[W]here the nonmoving party will bear the burden of proof at trial on a dispositive

11   issue, a summary judgment motion may properly be made in reliance solely on the ‘pleadings,

12   depositions, answers to interrogatories, and admissions on file.’” Id. Indeed, summary judgment

13   should be entered, after adequate time for discovery and upon motion, against a party who fails to

14   make a showing sufficient to establish the existence of an element essential to that party’s case,

15   and on which that party will bear the burden of proof at trial. See id. at 322, 106 S. Ct. at 2552.

16   “[A] complete failure of proof concerning an essential element of the nonmoving party’s case

17   necessarily renders all other facts immaterial.” Id. In such a circumstance, summary judgment

18   should be granted, “so long as whatever is before the district court demonstrates that the standard

19   for entry of summary judgment, as set forth in Rule 56(c), is satisfied.” Id. at 323, 106 S. Ct. at

20   2553.

21                  If the moving party meets its initial responsibility, the burden then shifts to the

22   opposing party to establish that a genuine issue as to any material fact actually does exist. See

23   Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct. 1348, 1356

24   (1986). In attempting to establish the existence of this factual dispute, the opposing party may

25   not rely upon the allegations or denials of its pleadings but is required to tender evidence of

26   specific facts in the form of affidavits, and/or admissible discovery material, in support of its

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 1   contention that the dispute exists. See Fed. R. Civ. P. 56(e); Matsushita, 475 U.S. at 586 n.11,

 2   106 S. Ct. at 1356 n. 11. The opposing party must demonstrate that the fact in contention is

 3   material, i.e., a fact that might affect the outcome of the suit under the governing law, see

 4   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 2510 (1986); T.W. Elec.

 5   Serv., Inc. v. Pacific Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987), and that the

 6   dispute is genuine, i.e., the evidence is such that a reasonable jury could return a verdict for the

 7   nonmoving party, see Wool v. Tandem Computers, Inc., 818 F.2d 1433, 1436 (9th Cir. 1987).

 8                   In the endeavor to establish the existence of a factual dispute, the opposing party

 9   need not establish a material issue of fact conclusively in its favor. It is sufficient that “the

10   claimed factual dispute be shown to require a jury or judge to resolve the parties’ differing

11   versions of the truth at trial.” T.W. Elec. Serv., 809 F.2d at 631. Thus, the “purpose of summary

12   judgment is to ‘pierce the pleadings and to assess the proof in order to see whether there is a

13   genuine need for trial.’” Matsushita, 475 U.S. at 587, 106 S. Ct. at 1356 (quoting Fed. R. Civ. P.

14   56(e) advisory committee’s note on 1963 amendments).

15                   In resolving the summary judgment motion, the court examines the pleadings,

16   depositions, answers to interrogatories, and admissions on file, together with the affidavits, if

17   any. Fed. R. Civ. P. 56(c). The evidence of the opposing party is to be believed. See Anderson,

18   477 U.S. at 255. All reasonable inferences that may be drawn from the facts placed before the

19   court must be drawn in favor of the opposing party. See Matsushita, 475 U.S. at 587, 106 S. Ct.

20   at 1356. Nevertheless, inferences are not drawn out of the air, and it is the opposing party’s

21   obligation to produce a factual predicate from which the inference may be drawn. See Richards

22   v. Nielsen Freight Lines, 602 F. Supp. 1224, 1244-45 (E.D. Cal. 1985), aff’d, 810 F.2d 898, 902

23   (9th Cir. 1987). Finally, to demonstrate a genuine issue, the opposing party “must do more than

24   simply show that there is some metaphysical doubt as to the material facts . . . . Where the record

25   taken as a whole could not lead a rational trier of fact to find for the nonmoving party, there is no

26   ‘genuine issue for trial.’” Matsushita, 475 U.S. at 587, 106 S. Ct. at 1356 (citation omitted).

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 1                  On February 18, 2003, the court advised plaintiff of the requirements for opposing

 2   a motion pursuant to Rule 56 of the Federal Rules of Civil Procedure. See Rand v. Rowland, 154

 3   F.3d 952, 957 (9th Cir. 1998) (en banc); Klingele v. Eikenberry, 849 F.2d 409, 411-12 (9th Cir.

 4   1988).

 5   III. Discussion

 6                  This action is proceeding on the amended complaint filed January 10, 2003. The

 7   defendants are Sacramento County, Sheriff Blanas, Deputy Sheriff Allbee, Deputy Gargano,

 8   Deputy Treat, Deputy Sergeant Stewart and Deputy Lieutenant Powell. Plaintiff, who is African

 9   American, possibly alleges that defendants violated the Thirteenth Amendment and certainly

10   alleges the Equal Protection Clause of the Fourteenth Amendment when they cut off his braids

11   while he was a pretrial detainee at the Sacramento County Jail. In particular, plaintiff alleges that

12   defendants enforce the no-braid hair policy against African American inmates only. Plaintiff

13   claims a violation of the Eighth Amendment, which given his status as a pretrial detainee would

14   be a Fourteenth Amendment claim.

15                  Before the court begins its analysis, plaintiff’s claims must be clarified. First,

16   plaintiff does not appear to challenge the constitutionality of the no-braid policy. Second, in

17   some of his pleadings plaintiff suggests that no policy existed which prohibited pretrial detainees

18   from wearing braids. This claim would conflict with the claim clearly raised in the complaint

19   that the no-braid policy was selectively enforced against African American inmates.

20   Accordingly, the court finds that the Equal Protection claim is based on this one theory only.

21                  A. Qualified Immunity

22                  Defendants first argue that they are entitled to qualified immunity as to plaintiff’s

23   Thirteenth Amendment and Equal Protection claims. “Qualified immunity, however, shields §

24   1983 defendants [f]rom liability for civil damages insofar as their conduct does not violate

25   clearly established statutory or constitutional rights of which a reasonable person would have

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 1   known.’” Devereaux v. Abbey, 263 F.3d 1070, 1074 (9th Cir. 2001) (en banc) (quoting Harlow

 2   v. Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. 2727, 2738 (1982)).

 3                  Under Saucier v. Katz, 533 U.S. 194, 121 S. Ct. 2151 (2001), the first step in the

 4   qualified immunity analysis is to take the facts in the light most favorable to plaintiff and ask

 5   whether those facts show that defendant’s conduct violated a constitutional right. Estate of Ford

 6   v. Ramirez-Palmer, 301 F.3d 1043, 1050 (9th Cir. 2002), citing Saucier, 533 U.S. at 201, 121 S.

 7   Ct. at 2156.

 8                  The Thirteenth Amendment provides in relevant part that “[n]either slavery nor

 9   involuntary servitude...shall exist within the United States.” U.S. Const. amend. XIII. The court

10   cannot locate where in the amended complaint plaintiff references the Thirteenth Amendment

11   (the court thinks that defendants have confused their roman numerals). To the extent plaintiff

12   has raised a Thirteenth Amendment claim, in terms of a private right of action, the Thirteenth

13   Amendment is viewed as having two separate sections—the prohibition of slavery or involuntary

14   servitude itself (outside of prison), which is self-executing, and the abolition of badges and

15   incidents of slavery, which depends on legislation passed by Congress. This dichotomy was well

16   stated in Channer v. Hall, 112 F.3d 214, 217 (n.5) (5th Cir. 1997):

17                  Section two “clothe[s] ‘Congress with power to pass all laws
                    necessary and proper for abolishing all badges and incidents of slavery in the
18                  United States.’” Jones v. Alfred H. Mayer Co., 392 U.S. 409, 439, 88 S.Ct. 2186,
                    12203, 20 L.Ed.2d 1189 (1968) (quoting The Civil Rights Cases, 109 U.S. 3, 20,
19                  3 S.Ct. 18, 27-28, 27 L.Ed. 835 (1883)) (emphasis omitted). Appellees contend
                    that there is no direct private right of action under the Amendment because
20                  Congress acting under § 2 is the creator and definer of 13th Amendment rights.
                    While it is true that suits attacking the “badges and incidents of slavery” must be
21                  based on a statute enacted under § 2, suits attacking compulsory labor arise
                    directly under prohibition of § 1, which is “undoubtedly self-executing without
22                  any ancillary legislation” and “[b]y its own unaided force and effect ... abolished
                    slavery, and established universal freedom.” The Civil Rights Cases, 109 U.S. at
23                  20, 3 S.Ct. at 28. The cases upon which Appellees rely are § 2 “badges and
                    incidents” cases and are thus inapplicable to Channer’s claim. See, e.g., Griffin
24                  v. Breckenridge, 403 U.S. 88, 91 S.Ct. 1790, 29 L.Ed.2d 338 (1971) (suit under
                    42 U.S.C. § 1985(3) arising out of racially motivated assault and battery); Holland
25                  v. Board of Trustees of Univ. Dist. Colum., 794 F.Supp. 420, 424 (D.D.C.1992)
                    (holding that discrimination-based badges and incidents suit must be brought
26                  under 42 U.S.C. § 1981, not directly under 13th Amendment).

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 1   See also: Jane Doe I v. Reddy, 2003 WL 23893010, *10 (N.D.Cal. 2003) which contains a good

 2   discussion of the case law.

 3                  Plaintiff’s claim does not fall within the self-executing clause of the Thirteenth

 4   Amendment, i.e., an asserted unequal policy about the wearing of hair braids in jail/prison cannot

 5   be equated with peonage. Nor does plaintiff suggest any statute of Congress which would

 6   proscribe prison officials from abolishing braids in prison regardless of the braids’ primary

 7   identity with a particular racial group. Plaintiff’s claim that defendants cut off his braids does not

 8   state a claim pursuant to the Thirteenth Amendment. Therefore, the court need not go further in

 9   its qualified immunity analysis of this claim. To the extent the amended complaint raises a

10   Thirteenth Amendment claim, defendants are entitled to summary judgment as to this claim.

11                  The court next considers whether the facts, taken in the light most favorable to

12   plaintiff, demonstrate that defendant racially discriminated against plaintiff when they cut off his

13   braids. Prisoners may not be subject to racial discrimination. Lee v. Washington, 390 U.S. 333,

14   88 S. Ct. 994 (1968)(per curiam). A prisoner must show discriminatory intent to succeed on a

15   claim of racial discrimination. Washington v. Davis, 426 U.S. 229, 240, 96 S. Ct. 2040, 2048

16   (1976).

17                  Defendants argue that they were not motivated by racial discrimination when they

18   cut off plaintiff’s braids. Defendants contend that on August 31, 2002, they cut off plaintiff’s

19   braids, which were prohibited by jail policy, after he refused orders to undo them. On that date,

20   defendants also found pruno in plaintiff’s cell. Attached as exhibit A to defendant Allbee’s

21   declaration filed December 17, 2004, is a copy of a portion of the jail handbook. Rule number 20

22   states,

23                  Hair, inmates shall not: braid, twist, knot, bun, tie, or place anything foreign in
                    your hair. Hair must be free flowing for security purposes. Extensions, beads,
24                  etc...are considered contraband and shall be removed. The property office will put
                    them in your property.
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 1                  In support of his claim that defendants were motivated by racial discrimination,

 2   plaintiff alleges in the verified complaint that on August 31, 2002, after his hair was cut, he saw

 3   two white inmates wearing their hair in braids. When plaintiff pointed them out to defendant

 4   Allbee, defendant replied that it was easier for white guys with long hair to keep their hair

 5   braided while “blacks just want their nappy heads looking cool. You all are nothing but gang

 6   banging crackheads anyway. You don’t need no braids.” Defendant Powell added, “We know

 7   what we’re doing, it’s you brothers that we have all the problems out of all the time.”

 8                  Defendants contend that plaintiff testified at his deposition that defendants were

 9   not motivated by racial discrimination when they cut off his braids. Defendants state that

10   plaintiff testified that defendants cut his hair because he was not from Sacramento and because

11   he had a prior disagreement with defendant Allbee. In support of these claims, defendants cite

12   pages 32, 47-48, 73-74 of plaintiff’s deposition transcript.

13                  Plaintiff testified that while his hair was being cut, defendants commented that he

14   was not from Sacramento but that “it was more racial stuff than anything.” Philson Decl., filed

15   December 17, Exhibit B, p. 32: 11-18. Plaintiff later testified that while other African American

16   men were permitted to wear their hair in braids, he was singled out because defendant Allbee did

17   not like him. Id., p. 47: 14-25. When asked if this was the only reason, plaintiff answered that

18   there were other reasons. Id., p. 48: 6-10. He also testified that he was singled out because he

19   was documented on jail records as a Crip. Id., p. 74.

20                  Plaintiff is not required to prove that defendants’ conduct rested solely on racially

21   discriminatory purposes. Village of Arlington Heights v. Metropolitan Hous. Dev. Corp., 429

22   U.S. 252, 264, 97 S. Ct. 555, 563 (1977). Plaintiff must demonstrate that racial discrimination

23   was a motivating factor. Id.

24                  According to plaintiff’s evidence, defendants made racial comments while they

25   cut off his braids and later suggested that only African American inmates would not be permitted

26   to wear braids. Plaintiff also claims that he saw white inmates with braids. Although plaintiff

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 1   also claims that he saw African American inmates wearing braids, the court finds that he has

 2   presented sufficient evidence to suggest that defendants were motivated in part by racial

 3   discrimination. Accordingly, the court finds that taken in the light most favorable to plaintiff,

 4   defendants racially discriminated against plaintiff when they cut off his braids.2

 5                  “The next question [of the qualified immunity analysis] is whether the

 6   constitutional right that would be violated was clearly established. That is a ‘two-part inquiry:

 7   (1) Was the law governing the state official’s conduct clearly established? (2) Under that law

 8   could a reasonable state official have believed his conduct was lawful?’” Id., quoting Jeffers v.

 9   Gomez, 267 F.3d 895 910 (9th Cir. 2001). “However, ‘[t]he relevant, dispositive inquiry in

10   determining whether a right is clearly established is whether it would be clear to a reasonable

11   officer that his conduct was unlawful in the situation he confronted.’” Id., quoting Saucier, 533

12   U.S. at 202.

13                  At the time of the incident the law was clearly established that racial

14   discrimination against prisoners was unconstitutional. Defendants argue that a reasonable

15   officer would have believed his conduct lawful in that situation because plaintiff refused to

16   comply with the jail policy by removing his braids and because pruno had been found in his cell.

17   While plaintiff was not in compliance with the no-braid policy, plaintiff claims that defendants

18   permitted white inmates to wear braids and made comments suggesting that the no-braid policy

19   was enforced against African American inmates only. Under these circumstances, the court finds

20   that no reasonable officer would believe that cutting off plaintiff’s braids was lawful.

21   Accordingly, the court cannot find that defendants are entitled to qualified immunity as to

22   plaintiff’s racial discrimination claim.

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              The parties dispute whether plaintiff refused defendants’ orders to remove his braids.
25   Whether plaintiff refused defendants’ orders to remove his braids is not strongly probative of
     whether defendants were motivated by racial discrimination when they enforced the no braid
26   policy against plaintiff.

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 1                  B. Monell

 2                  Defendants argue that defendant Sacramento County is entitled to summary

 3   judgment insofar as plaintiff states a Monell claim against this defendant.

 4                  A municipality may be sued under 42 U.S.C. § 1983 if an action pursuant to

 5   official municipal policy of some nature caused a constitutional tort. Monell v. Department of

 6   Social Services, 436 U.S. 658, 691, 98 S. Ct. 2018, 2036 (1978). A local governmental body

 7   may be liable if it has a policy of inaction and such inaction amounts to a failure to protect

 8   constitutional rights. Oviatt v. Pearce, 954 F.2d 1470, 1474 (9th Cir. 1992).

 9                  Plaintiff’s Monell claim against defendant Sacramento County is based on a

10   policy of inaction, i.e. permitting employees to enforce the no-braid policy in a racially

11   discriminatory manner. The policy of inaction must be more than mere negligence. Daniels v.

12   Williams, 474 U.S. 327, 333-336, 106 S. Ct. 662, 666-669 (1986). It must be a conscious or

13   deliberate choice among various alternatives. Lee v. City of Los Angeles, 250 F.3d 668, 681 (9th

14   Cir. 2001).

15                  In the instant case, plaintiff has not demonstrated that defendant Sacramento

16   County had a policy of permitting employees to enforce the no braids policy in a racially

17   discriminatory manner. There is no evidence that defendant made a “conscious choice” to permit

18   this alleged racial discrimination. Accordingly, the court recommends that defendant

19   Sacramento County be granted summary judgment.

20                  C. Remaining Claims

21                  In the amended complaint, plaintiff alleges that his injuries resulted from the

22   failure of defendant Blanas to properly train the other defendants. Amended Complaint, p. 9, ¶

23   29. Plaintiff also argues that defendants violated various state laws and used excessive force in

24   violation of the Eighth (Fourteenth) Amendment. Graham v. Connor, 490 U.S. 386, 395, n. 10,

25   109 S. Ct. 1865 (1989) (The Due Process clause protects pretrial detainees from the use of

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 1   excessive force that amounts to punishment). Defendants have not moved for summary

 2   judgment as to these claims.

 3                     Accordingly, IT IS HEREBY RECOMMENDED that defendants’ December 17,

 4   2004, summary judgment motion be granted as to plaintiff’s claims against defendant

 5   Sacramento County and as to plaintiff’s claims for violation of the Thirteenth Amendment as to

 6   all defendants; defendants’ summary judgment motion be denied in all other respects.

 7                     These findings and recommendations are submitted to the United States District

 8   Judge assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within twenty

 9   days after being served with these findings and recommendations, any party may file written

10   objections with the court and serve a copy on all parties. Such a document should be captioned

11   “Objections to Magistrate Judge’s Findings and Recommendations.” Any reply to the objections

12   shall be served and filed within ten days after service of the objections. The parties are advised

13   that failure to file objections within the specified time may waive the right to appeal the District

14   Court’s order. Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).

15   DATED:         4/25/05

16
                                                           /s/ Gregory G. Hollows
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                                                           GREGORY G. HOLLOWS
18                                                         UNITED STATES MAGISTRATE JUDGE

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